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                                          May 19, 2021

 VIA E-FILING
 The Honorable Leonard P. Stark
 U.S. District Court for the District of Delaware
 844 North King Street
 Wilmington, Delaware
 19801

  Re:     Crystallex International Corporation v. Bolivarian Republic of Venezuela, et al.,
          C.A. No. 17-mc-151-LPS

Dear Chief Judge Stark:

       We write on behalf of Phillips Petroleum Company Venezuela Limited and ConocoPhillips
Petrozuata B.V. (“ConocoPhillips”) to object to certain portions of the Proposed Order filed by the
Special Master on May 14, 2021, D.I. 265.

       ConocoPhillips understands that, after conferring with counsel for the Crystallex parties
and ConocoPhillips, the Special Master has decided not to further revise the initial Proposed Order,
filed on May 9, 2021, with respect to issues concerning applicable U.S. Department of the
Treasury’s Office of Foreign Assets Control (“OFAC”)’s sanctions regulations. D.I. 265.
Specifically, the Special Master has rejected a request by ConocoPhillips to include certain
proposed language to ensure that the process to be embarked upon by the Special Master will be
in compliance with applicable OFAC sanctions regulations.

        Based on its understanding of applicable OFAC sanctions regulations, ConocoPhillips
believes that the Special Master Order should contain language that clearly circumscribes the
Special Master’s duties in order to avoid the possibility of running afoul of OFAC sanctions in any
respect. The following language was proposed by ConocoPhillips for inclusion in the Proposed
Order but ultimately rejected by the Special Master. ConocoPhillips objects to that exclusion and
respectfully requests that the Court include the following paragraph or language to similar effect
in the Special Master Order:
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       Authorized Conduct. The activities of the Special Master (and his Counsel and Advisors),
       in effecting his court-appointed duties under this Order, do not purport to encumber,
       transfer or otherwise affect the PDVH shares or PDVSA’s interests in the PDVH shares or
       require him to engage in dealings with Specially Designated Nationals (“SDN”s). The
       Special Master, his Counsel and Advisors shall not engage in, and the Parties and
       ConocoPhillips are not financing, any conduct or transaction that purports to encumber,
       transfer or otherwise affect the PDVH shares, or that constitutes a prohibited dealing with
       an SDN, unless authorized by OFAC to do so and carried out pursuant to a subsequent
       order of this Court

        This proposed paragraph reflects the language of the OFAC regulations and provides an
additional layer of clarity and security to the Court, the Special Master and any of the funding
parties. Crystallex proposed certain language in its May 10, 2021 letter to the Court, D.I. 262, that
defines the Special Master as an “arm of the court.” In ConocoPhillips’ view, this language does
not provide the same level of protection to all involved parties as the paragraph ConocoPhillips
has proposed above.

        ConocoPhillips additionally objects to the Proposed Order’s initial fee cap of $2 million.
ConocoPhillips’ position is that the Proposed Order should reflect an initial fee cap of no more
than $1 million. The Special Master’s activities will of necessity be of an exploratory,
investigative and preparatory nature. While it may be that such activities will require as much as
$2 million, inasmuch as there is no assurance that a sale will occur, ConocoPhillips believes that
$1 million is an adequate starting point. In the event that additional funding above $1 million is
required, ConocoPhillips suggests that incremental increases be subject to the parties’ agreement
and the approval of the Court.

       Finally, regardless of the amount of the initial fee cap, and consistent with its agreement as
a non-party to share in the funding of the Special Master, ConocoPhillips believes that, should the
Intervenor Bondholders be permitted to participate fully in the share sale process, they should also
be required to share equally in the funding of the Special Master. This is consistent with
Crystallex’s position as expressed in its May 10, 2021 letter to the Court, D.I. 263. There is no
sound reason why, as parties not named in the underlying action, ConocoPhillips and the
Intervenor Bondholders should be treated differently with respect to funding obligations.

                                                       Respectfully submitted,

                                                       /s/ Garrett B. Moritz

                                                       Garrett B. Moritz (#5646)


 cc:   All Counsel of Record
       Robert Pincus, Special Master
